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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   Fort Worth Division

 OUTSOURCING FACILITIES
 ASSOCIATION, et al.,

                 Plaintiffs,

         v.
                                                      Civil Action No. 4:24-cv-00953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                 Defendants.


                   [Proposed] Order Granting Motion For Preliminary Injunction

        This case comes before the Court on the motion of Plaintiffs Outsourcing Facilities

Association (“OFA”) and North American Custom Laboratories, LLC, doing business as

FarmaKeio Custom Compounding (“FarmaKeio”), for a preliminary injunction prohibiting the

Food and Drug Administration (“FDA”) from taking action against OFA members and FarmaKeio

based on their compounding of the drug ingredient Tirzepatide pending final judgment in this case.

        Finding good cause for the motion, the Court GRANTS the motion on the terms stated

below. The Court states the good cause supporting this order as follows:

        A plaintiff seeking a preliminary injunction “must establish (1) a likelihood of success on
the merits; (2) a substantial threat of irreparable injury; (3) that the threatened injury if the

injunction is denied outweighs any harm that will result if the injunction is granted; and (4) that

the grant of an injunction will not disserve the public interest.” Ladd v. Livingston, 777 F.3d 286,

288 (5th Cir. 2015) (quoting Trottie v. Livingston, 766 F.3d 450, 452 (5th Cir. 2014)). “Preliminary

injunctions commonly favor the status quo and seek to maintain things in their initial condition so

far as possible until after a full hearing permits final relief to be fashioned.” Wenner v. Tex. Lottery

Comm’n, 123 F.3d 321, 326 (5th Cir. 1997). In this case, Plaintiffs have established these elements,
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and an injunction is proper to prevent irreparable harm and preserve the status quo until final

judgment can be rendered in this case.

       1.      Plaintiffs have a substantial likelihood of success on the merits. FDA removed

Tirzepatide from the shortage list (the “Delisting Action”) without notice-and-comment

rulemaking required by the Administrative Procedure Act (“APA”). See 5 U.S.C. § 553(c); U.S.

Dep’t of Labor v. Kast Metals Corp., 744 F.2d 1145, 1153 n.17 (5th Cir. 1984). The Delisting

Action is clearly an agency “rule,” because it qualifies as “the whole or a part of an agency

statement of general or particular applicability and future effect designed to implement, interpret,

or prescribe law or policy.” 5 U.S.C. § 551(4); see Apter v. Dep’t of Health & Hum. Servs., 80 F.4th

579, 590 (5th Cir. 2023) (explaining that this definition reaches “virtually every statement an

agency may make”). And the Delisting Action is a substantive rule because it has “the force and

effect of law.” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 103 (2015). When FDA removes a drug

from the shortage list, permissions under the Food, Drug, and Cosmetic Act (“FCDA”) for

compounding from bulk substances of the drug (Section 503B) or compounding copies of the drug

(Section 503A) are eliminated, which renders formerly lawful activity unlawful. For that reason,

the Delisting Action is not exempt from notice-and-comment process as agency guidance or

internal-process directives. Nor does anything in the FDCA exempt FDA from notice-and-

comment rulemaking when it undertakes relevant actions.
       Separately, Plaintiffs are likely to prevail because of FDA’s lack of reasoned

decisionmaking. Whether or not notice-and-comment rulemaking is mandated, an agency must

justify its final action with a “reasoned analysis.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 42 (1983). Provisional relief is warranted where no

reasoned analysis accompanies final agency action. Ohio v. EPA, 144 S. Ct. 2040, 2054 (2024).

Here, FDA failed to provide “a satisfactory explanation for its action including a ‘rational

connection between the facts found and the choice made.’” State Farm, 463 U.S. at 43 (citation

omitted). FDA has “barely articulated any basis at all” for the Delisting Action, BNSF Ry. Co. v.
Fed. R.R. Admin., 62 F.4th 905, 911 (5th Cir. 2023), noting only that “FDA confirmed with the
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drug’s manufacturer that their stated product availability and manufacturing capacity can meet the

present and projected national demand.”

       This does not address many obvious questions, including what information FDA received

from the manufacture, what FDA did to evaluate that information, why FDA deemed the “stated”

capacity, supply, and demand so credible as to be dispositive, and what FDA did to account for

inherent self-interest of the manufacturer in the decision. Moreover, FDA’s statement falls well

short of explaining to the public what FDA believes the demand and projected demand of the drug

to be what it believes the existing supply to be, or its bases for either determination. Importantly,

the Delisting Action does not explain how FDA determined (or whether it determined) that the

manufacture’s supply of Tirzepetide can meet demand satisfied since December 2022 by lawful

compounding. Additionally, the administrative record—if properly compiled—is likely to show

that FDA received information strongly indicating a continuing shortage of Tirzepatide, but FDA’s

action fails even to mention (let alone respond to) this information. Whether or not FDA has

answers to these questions is beside the point: it should have addressed the factors in its

rulemaking. Anything it might say in litigation will come too late. Dep’t of Homeland Sec. v.

Regents of the Univ. of California, 140 S. Ct. 1891, 1909 (2020). For that reason, it is hard to see

how FDA can persuasively counter a preliminary injunction motion, and this justifies interim relief

pending resolution of that motion.
       Moreover, “[i]llogical and internal inconsistency are characteristic of arbitrary and

unreasonable agency action.” Chamber of Com. of United States of Am. v. United States Dep’t of

Lab., 885 F.3d 360, 382 (5th Cir. 2018). The Delisting Action is illogical and internally

inconsistent in that all its factual assertions—including predictions of “intermittent localized

supply disruptions” and warnings that “Patients May Not Always Be Able To Immediately Fill

Their Prescription”—suggest an ongoing shortage. The point of maintaining a shortage list is for

FDA to ascertain whether supply can satisfy demand. Findings that supply will not satisfy demand

are an illogical and inconsistent basis for a declaration that a shortage has ended.
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        For all these reasons, Plaintiffs are likely to succeed in establishing APA violations on the

merits. This factor favors a temporary injunction to preserve the status quo.

        2.      All equitable factors also favor an injunction. Absent immediate relief, FarmaKeio

and OFA members will be irreparably harmed. See, e.g., Wages & White Lion Invs., LLC v. United

States Food & Drug Admin., 16 F.4th 1130, 1142 (5th Cir. 2021) (holding that plaintiff proved

irreparable harm based on FDA’s action forbidding its product manufacturing and marketing).

They will suffer financial loses that “cannot be undone through monetary remedies,” Interox Am.

v. PPG Indus., Inc., 736 F.2d 194, 202 (5th Cir. 1984), given that sovereign immunity forecloses

any monetary recovery in this case, Wages & White Lion, 16 F.4th at 1142.

        The balance of harms and public interest also favor an injunction. These factors “‘merge

when the Government is the opposing party,’” Texas v. Becerra, 577 F. Supp. 3d 527, 561 (N.D.

Tex. 2021) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)), and they favor an injunction. The

public has a substantial interest in continued access to compounded Tirzepatide at least until the

Court decides the pending preliminary-injunction motion. The public also has a “substantial public

interest in having governmental agencies abide by the federal laws that govern their existence and

operations.” Texas v. United States, 40 F.4th 205, 229 (5th Cir. 2022). It is “not in the public interest

to suspend notice and comment. Notice and comment are not mere formalities. They are basic to

our system of administrative law.” Nat. Res. Def. Council v. Nat'l Highway Traffic Safety Admin.,
894 F.3d 95, 115 (2d Cir. 2018).

        A preliminary injunction will impose no cognizable harms. FDA cannot plausibly claim

injury from following congressional dictates and making a reasonably informed—rather than

arbitrary—decision. Nor can FDA claim cognizable harm from a 14-day continuation of

compounding that was lawful in FDA’s own view until a few days ago and had been continuously

meeting public demand and patient needs since December 2022. FDA’s basis for declaring the

shortage over was unrelated to public health or safety, and maintaining an effective state of

shortage does nothing to prevent FDA from enforcing the many mechanisms of the FDCA
designed to protect public safety. See, e.g., 21 U.S.C. § 353b(b)(1) and (2) (registration, inspection,
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and reporting requirements); id. § 353b(a)(4) (FDA prerogative to forbid outsourcing-facility

compounding where “drugs or components of such drugs have been found to be unsafe or not

effective”); id. § 353a(b)(1) (quality standards); id. § 353a(b)(3) (FDA prerogative to forbid

pharmacy compounding of drug “that reasonably demonstrate an adverse effect on the safety or

effectiveness of that drug product”).

       Thus, the balance of equities favors a temporary restraining order to prevent irreparable

harm and serve the public interest pending fulsome briefing and adjudication of the pending

preliminary-injunction motion.

       3.      No security is necessary to support a preliminary injunction under Federal Rule of

Civil Procedure 65(c). The amount of security required “is a matter for the discretion of the trial

court,” and the Fifth Circuit has held district courts have discretion to “require no security at all.”

Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (citing Corrigan Dispatch Company

v. Casa Guzman, 569 F.2d 300, 303 (5th Cir. 1978)). FDA will not suffer financial harm from an

injunction that would make a security requirement proper, so the Court exercises its discretion to

require no security.

       For the foregoing reasons, the Court GRANTS Plaintiffs’ motion for a preliminary

injunction and ENJOINS for the pendency of this action or until further order of this Court the

Food and Drug Administration from taking action against Plaintiffs for engaging in compounding
of Tirzepatide that is lawful in circumstances where Tirzepatide is named on the drug-shortage list

so long as that compounding complies with conditions applicable in circumstances where

Tirzepatide is named on the drug-shortage list.

       IT IS SO ORDERED.


 Dated:
                                                    United States District Judge
